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                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION AT COVINGTON
                           Criminal Minutes - Motion Hearing and Status Conference

Cr. No. 16-47-ART-CJS                   at COVINGTON                                         04/12/2017

U.S. vs. WILLIAM J. MILLER                             X Present X Bond
___________________________________________________________________________________
PRESENT: HON. CANDACE J. SMITH, U.S. MAGISTRATE JUDGE

Linda Tierney                 KYED-COV_2-16-cr-47-ART-CJS_20170412_135407
Deputy Clerk                  Audio File Number

I, Linda S. Tierney, CERTIFY the official record of this proceeding is an audio file.

Elaine Leonhard         Eric Eckes
Assistant U.S. Attorney Attorney for Defendant         X Present X Appointed
___________________________________________________________________________________
PROCEEDINGS: MOTION HEARING and STATUS CONFERENCE

        Case called for oral argument on Defendant’s Motion to Suppress and follow-up Status
Conference to discuss activities since the April 5 status conference. Counsel inform that
communications continue in progress to coordinate arrangements for Defendant’s computer forensic
expert to access the evidence. After discussion, counsel agree to file a status report or motion for status
conference once the expert examination arrangements have been made and defense counsel has more
detailed information from his expert as to how much time will be needed to conduct the examination
and complete the associated consultation and reporting. Upon the filing of that status report or motion,
scheduling of a trial date will be addressed.

       As to the oral argument portion of this proceeding, defense counsel began his presentation on
the suppression motion; however, the proceeding was recessed and the oral argument continued,
without objection, until next week due to an unforeseen medical circumstance arising in the course of
counsel’s presentation. Accordingly, IT IS ORDERED that:

          1.        Oral argument on Defendant’s Motion to Suppress (R. 27) is continued until
                    Wednesday, April 19, 2017, at 2:00 p.m. before the undersigned, and

          2.        Defendant to remain on bond and conditions of release.




TIC: 35 mins.

USA/USPO/USM/CJA/E. Eckes                                                         Deputy Clerk Init. lst

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